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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


  SHAWN G. HARRIS,

             Petitioner,

  v.                                             Civil Action No. 5:06CV141
                                             (Criminal Action No. 5:05CR41)
  UNITED STATES OF AMERICA,                                         (STAMP)

             Respondent.


                       MEMORANDUM OPINION AND ORDER
                 AFFIRMING AND ADOPTING THE MAGISTRATE
                  JUDGE’S REPORTS AND RECOMMENDATIONS,
            DENYING PETITIONER’S “MOTION JUSTIFYING RELIEF
               FROM THE OPERATION OF THE JUDGMENT UNDER
                      FEDERAL CIVIL RULE 60(b)(6)”,
       GRANTING PETITIONER’S § 2255 PETITION AS TO GROUND ONE,
        DENYING PETITIONER’S § 2255 PETITION AS TO GROUND TWO,
  DENYING AS MOOT PETITIONER’S § 2255 PETITION AS TO GROUND THREE,
               VACATING THE JUDGMENT IN THIS ACTION AND
             DIRECTING THE UNITED STATES PROBATION OFFICE
               TO PREPARE JUDGMENT AND COMMITMENT ORDER

                                I.    Background

        Pro se1 petitioner, Shawn G. Harris, is currently serving a

  fifty-seven    month   period      of   imprisonment   for   conspiracy   to

  distribute in excess of five grams of cocaine base, in violation of

  21 U.S.C. §§ 846 and 841(b)(1(B).              The petitioner filed two

  pleadings seeking to correct his sentence.             First, he filed a

  motion styled, “Motion Justifying Relief from the Operation of the

  Judgment Under Federal Civil Rule 60(b)(6).”             Next, he filed a

  petition pursuant to 28 U.S.C. § 2255 to vacate, set aside or

  correct sentence by a person in federal custody.


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        “Pro se” describes a person who represents himself in a court
  proceeding without the assistance of a lawyer.         Black’s Law
  Dictionary 1237 (7th ed. 1999).
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           Pursuant to 28 U.S.C. §§ 636(b)(1)(A) and (B) and Local Rule

  of Prisoner Litigation Procedure 83.09, et seq., this case was

  referred to United States Magistrate Judge James E. Seibert for an

  initial review and for a report and recommendation on disposition

  of this matter.      Magistrate Judge Seibert issued three reports and

  recommendations recommending disposition of the matters contained

  in the petitioner’s motion and habeas corpus petition. In each

  report     and   recommendation,      the    magistrate    judge   informed   the

  parties that if they objected to any portion of the report, they

  must file written objections within ten days after being served

  with copies of the report.           The petitioner filed objections to the

  first two reports and recommendations but did not file objections

  to the third one.

           For the reasons set forth below, this Court concludes that the

  magistrate judge’s reports and recommendations must be affirmed and

  adopted in their entirety.           Accordingly, this Court will deny the

  petitioner’s “Motion Justifying Relief from the Operation of the

  Judgment Under Federal Civil Rule 60(b)(6),” and will grant in part

  and deny in part the petitioner’s petition pursuant to 28 U.S.C.

  § 2255 to vacate, set aside or correct sentence by a person in

  federal custody.

                                 II.   Applicable Law

           Pursuant to 28 U.S.C. § 636(b)(1)(C), this Court must conduct

  a   de    novo   review   of   any    portion   of   the   magistrate   judge’s

  recommendation to which objection is timely made.                   As to those



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  portions of a recommendation to which no objection is made, a

  magistrate judge’s findings and recommendation will be upheld

  unless they are “clearly erroneous.”         See Webb v. Califano, 468 F.

  Supp.   825   (E.D.   Cal.   1979).       Because   the   petitioner   filed

  objections to the first report and recommendation, this Court would

  normally undertake a de novo review of the matters before it.

  However, because this Court’s disposition of the second report and

  recommendation renders moot the matters addressed in the first

  report and recommendation, and because no objections were filed to

  the second report and recommendation, this Court reviews the

  matters before it for clear error.

                               III. Discussion

  A.    “Motion Justifying Relief from the Operation of the Judgment

  Under Federal Civil Rule 60(b)(6)”

        On June 15, 2006, the petitioner filed what he styled as a

  “Motion Justifying Relief from the Operation of the Judgment Under

  Federal Civil Rule 60(b)(6)”. Petitioner argues for a reduction of

  his sentence on the basis of extreme hardship (he has an infant

  daughter, both of whose parents are incarcerated) and on the basis

  of substantial assistance.         Magistrate Judge Seibert issued a

  report and recommendation in which he correctly recharacterized the

  motion as a motion for reduction of sentence filed pursuant to

  Federal Rule of Criminal Procedure 35(b), and recommending that the

  petitioner’s claim be denied because only the government can move

  for a Rule 35(b) reduction of sentence for substantial assistance.



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         The petitioner filed objections which are a blend of arguments

  supporting his § 2255 petition and additional details regarding his

  demonstrated willingness to assist law enforcement authorities.

  The petitioner also repeats his argument that his 8-month-old

  daughter’s situation warrants a reduction in his sentence.

         Federal Rule of Criminal Procedure 35(b)(1) states:

         Upon the government’s motion made within one year of
         sentencing, the court may reduce a sentence if: (A) the
         defendant, after sentencing, provided substantial
         assistance in investigating or prosecuting another
         person; and (B) reducing the sentence accords with the
         Sentencing Commission’s guidelines and policy statements.

  In applying this rule, courts have found that “[a] mere showing of

  substantial assistance by the defendant is not sufficient to

  support a reduction in the defendant’s sentence without the filing

  of a motion by the government.”           United States v. Marshall, 197

  F.R.D. 449 (D.C. Kan. 2000).        The government has the discretion to

  file   a   Rule   35(b)   motion,   and   a   court   may   only   review   the

  government’s refusal to do so for abuse of discretion if: (1) the

  government is obligated by a plea agreement to move for such a

  departure; or (2) the refusal was based on an unconstitutional

  motive, such as the defendant’s race or religion. United States v.

  Wallace, 22 F.3d 84, 87 (4th Cir. 1994) (citing Wade v. United

  States, 504 U.S. 181 (1992)).

         Here, the petitioner claims that this Court should grant him

  a reduction in sentence under Rule 35(b) because of substantial

  assistance he states that he provided relating to a criminal

  investigation.      This Court will not question the value of any

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  assistance which may have been provided by the petitioner. Rather,

  this Court notes that the decision to make a Rule 35(b) motion lies

  solely with the government.            Wade, 504 U.S. at 185; see also Fed.

  R. Crim. P. 35(b).           Moreover, the petitioner’s argument that he

  should be granted a sentence reduction because of his family

  circumstances does not fall within the purview of Rule 35.2                  Thus,

  based upon a de novo review of the petitioner’s motions, this Court

  lacks the authority to grant a sentence reduction.

  B.     Habeas Corpus Petition

         On November 20, 2006, the petitioner filed a § 2255 habeas

  corpus petition stating three grounds for relief and requesting an

  evidentiary hearing on his claim that he informed his counsel to

  file       a   notice   of   appeal.    Ground   One     asserts   a    claim   for

  ineffective assistance of counsel for failure to file a notice of

  appeal upon petitioner’s request.             Ground Two alleges ineffective

  assistance of counsel for failure to obtain further sentence

  reductions        for   substantial    assistance,     pursuant    to   Rule    35.

  Finally, Ground Three seeks a sentence reduction pursuant to the

  then-pending amendments to the crack cocaine sentencing guidelines.

         Magistrate        Judge    Seibert      entered     two     reports      and

  recommendations on the petitioner’s habeas corpus petition.                     The


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        To the extent that the petitioner relies upon Federal Rule of
  Civil Procedure 60(b), it should be noted that such rule is not
  applicable to criminal judgments. Rather, it is a rule which may
  used to request a court to reconsider a final judgment in habeas
  corpus and other civil cases. See Gonzalez v. Crosby, 545 U.S.
  524, 534 (2005) (“Rule 60(b) has an unquestionably valid role to
  play in habeas cases.”)

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  first recommended that the petitioner’s § 2255 be denied and

  dismissed, except for Ground One (ineffective assistance of counsel

  for failure to file an appeal when instructed by petitioner to do

  so), for which he set an evidentiary hearing and appointed counsel

  to the petitioner for that hearing.

        The petitioner filed objections in which he argues, correctly,

  that the report and recommendation fails to address Ground Two and

  Ground Three on the merits.      The petitioner did not object to that

  portion of the report and recommendation setting an evidentiary

  hearing on Ground One.

        Thereafter, the magistrate judge held an evidentiary hearing

  on the petitioner’s claim that counsel failed to file an appeal as

  requested. After that hearing, the magistrate judge issued a third

  report and recommendation in which he recommends that the § 2255

  petition be granted on Ground One, the claim of ineffective

  assistance of counsel for failure to file an appeal.            The report

  further recommends that the petitioner’s original judgment be

  vacated and a new judgment be entered from which the petitioner may

  take an appeal.    No objections were filed to this third report and

  recommendation.

        This Court therefore reviews for clear error the matters

  addressed by the third report and recommendation, to which no

  objections were filed, and reviews de novo the matters addressed by

  the second report and recommendation, to which objections were

  filed.   Thus, Ground One, which is addressed in the third report



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  and recommendation, is reviewed under a clearly erroneous standard,

  and Grounds Two and Three are reviewed de novo.

        1.     Ground One--Ineffective Assistance of Counsel for Failure

  to File an Appeal

        As noted above, two of the petitioner’s asserted grounds for

  relief are based upon a claim of ineffective assistance of counsel.

  Ground     One   alleges   that   the     petitioner     received    ineffective

  assistance       of   counsel   because       the   petitioner   instructed   his

  attorney to file an appeal, and his attorney then failed to do so.

  As the magistrate judge correctly noted in his third report and

  recommendation, counsel for a criminal defendant provides per se

  ineffective assistance when the defendant instructs counsel to file

  an appeal and counsel fails to do so irrespective of the merits of

  the appeal.       Evitts v. Lucey, 469 U.S. 387, 391-405 (1985).              The

  remedy in such cases is to vacate the original judgment and enter

  a new judgment from which an appeal can be taken.                United States v.

  Peak, 992 F.2d 39, 42 (4th Cir. 1993).

        Here, the magistrate judge found by a slight preponderance of

  evidence that the petitioner instructed his counsel to file an

  appeal.    This Court finds no clear error in the magistrate judge’s

  findings. Accordingly, the third report and recommendation must be

  affirmed and adopted in its entirety, the petitioner’s § 2255

  petition must be granted on Ground One, and the judgment must be

  vacated and a new judgment entered from which the petitioner may

  take an appeal.



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        2.   Ground Two--Ineffective Assistance of Counsel for Failure

  to Obtain Further Sentence Reductions for Substantial Assistance

  Pursuant to Rule 35

        Ground Two of the § 2255 petition alleges that counsel for the

  petitioner provided ineffective assistance by failing to move for

  a sentence reduction for the assistance the petitioner provided to

  the United States in a criminal investigation.               This claim is

  essentially the same one the petitioner advanced in his “Motion

  Justifying Relief from the Operation of the Judgment Under Federal

  Civil Rule 60(b)(6)”.        As discussed in detail above, the decision

  to make a Rule 35(b) motion lies solely with the government. Wade,

  504 U.S. at 185; see also Fed. R. Crim. P. 35(b).            The government

  has elected not to do so in this case.                   Accordingly, after

  conducting a de novo review, this Court concludes that its has no

  authority to grant a sentence reduction under Rule 35.              Ground Two

  of the § 2255 petition must therefore be denied.

        3.   Ground Three--Sentence Reduction Pursuant to 18 U.S.C.

  § 3582

        Ground Three of the petitioner’s § 2255 petition seeks a

  sentence   reduction    on    the   basis   of   the   Sentencing   Guideline

  Amendments to crack cocaine offense.             At the time he filed his

  petition, the amendments had not become effective.           However, after

  the amendments became effective and after the magistrate judge

  issued his reports and recommendations, the petitioner, by counsel,

  filed a motion for retroactive application of the sentencing



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  guidelines to crack cocaine offenses pursuant to 18 U.S.C. § 3582.

  That motion was granted and the petitioner’s sentence adjusted

  downward accordingly.          Having reviewed this matter de novo, this

  Court concludes that Ground Three of the petitioner’s petition must

  be dismissed as moot.

                                  V.   Conclusion

          For the foregoing reasons, the magistrate judge’s reports and

  recommendations (Docs. 172, 183, and 188) are AFFIRMED and ADOPTED

  in   their    entirety.         Accordingly,         the   petitioner’s    “Motion

  Justifying Relief from the Operation of the Judgment Under Federal

  Civil Rule 60(b)(6)” is DENIED, and the petitioner’s claims filed

  pursuant to 28 U.S.C. § 2255 are GRANTED IN PART and DENIED IN

  PART.      Specifically, it is ORDERED that the § 2255 petition be

  GRANTED as to Ground One.            It is also ORDERED that the § 2255

  petition be DENIED as to Ground Two and that the § 2255 petition be

  DENIED AS MOOT as to Ground Three.             It is further ORDERED that the

  judgment entered by this Court on December 20, 2005 be VACATED so

  that an amended judgment may be entered from which the petitioner

  may file an appeal.       The United States Probation Office is hereby

  DIRECTED to prepare an amended judgment in accordance with this

  order.       Pursuant     to    Federal       Rule    of   Appellate      Procedure

  4(b)(1)(A)(i), the petitioner has ten days after the entry of the

  amended judgment within which to file a notice of appeal.

          IT IS SO ORDERED.




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        The Clerk is directed to transmit a copy of this order to the

  pro se petitioner by certified mail, to counsel of record herein,

  and to the United States Probation Office.

        DATED:      June 19, 2009



                                      /s/ Frederick P. Stamp, Jr.
                                      FREDERICK P. STAMP, JR.
                                      UNITED STATES DISTRICT JUDGE




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